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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 IN RE MUSHROOM DIRECT                          :          CIVIL ACTION
 PURCHASER ANTITRUST                            :          Master File No. 06-0620
 LITIGATION                                     :
                                                :
 THIS DOCUMENT RELATES TO:                      :
 ALL ACTIONS                                    :
                                                :
                                                :
 WINN-DIXIE STORES, INC., et al.                :          CIVIL ACTION
                                                :          No. 15-6480
        v.                                      :
                                                :
 EASTERN MUSHROOM MARKETING                     :
 COOPERATIVE, et al.                            :


                                           ORDER

       AND NOW, this 14th day of May, 2019, upon consideration of Defendant M.D. Basciani

& Sons, Inc.’s Motion for Recusal and for a Stay of All Proceedings, responses by Certain

Defendants, Class Plaintiffs, and Opt-Out Plaintiffs Publix Super Markets, Inc. and Giant Eagle,

Inc., and for the reasons provided in the Court’s Memorandum dated May 14, 2019, it is

ORDERED that:

       1. The motion (Civ. A. No. 06-620, Doc. No. 1006 and Civ. A. No. 15-6480, Doc. No.

             127) is DENIED.

       2. The class litigation will proceed to trial as scheduled on May 20, 2019.

                                            BY THE COURT:




                                            Berle M. Schiller, J.
